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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-60757-CIV-DIMITROULEAS

  FLORIDA EMERGENCY PHYSICIANS
  KANG & ASSOCIATES, M.D., INC., et al.,

           Plaintiffs,
  vs.

  UNITED HEALTHCARE OF FLORIDA,
  INC., et al.,

        Defendants.
  _____________________________________/

             UNITED DEFENDANTS’ INITIAL RESPONSE TO PLAINTIFFS’
           NOTICE OF INTENT NOT TO FILE SECOND AMENDED COMPLAINT

           On March 30, 2021, Plaintiffs filed with the Court a “Notice of Intent Not to File a Second

  Amended Complaint and Request that this Action be Remanded to State Court” [ECF No. 69]

  (“Plaintiffs’ Notice”). Defendants, UnitedHealthcare of Florida, Inc., UnitedHealthcare Insurance

  Co., and UMR, Inc. (collectively, the “United Defendants”), respectfully request that the Court

  wait to act on Plaintiffs’ Notice, so that the United Defendants have an opportunity to respond

  thereto, and state the following in support:

                                             BACKGROUND

           On June 9, 2020, Plaintiffs filed an Amended Complaint asserting the following claims:

  Count I, Violation of RICO, 18 U.S.C. § 1962(c), against all Defendants; Count II, Violation of

  RICO conspiracy, 18 U.S.C. § 1962(d), against all Defendants; Count III, Violation of FDUTPA

  against MultiPlan, Inc.; Count IV, Violation of Florida Statute § 641.513 against United Healthcare

  of Florida, Inc.; Count V, Violation of Florida Statute § 627.64194 against UnitedHealthcare

  Insurance Co.; Count VI, Breach of Implied-in-Fact Contract against the United Defendants;




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  Count VII, Quantum Meruit against the United Defendants; Count VIII, Unjust Enrichment against

  the United Defendants; and Count IX, Declaratory Judgement against the United Defendants.

  [ECF No. 27].

           The Defendants moved to dismiss the Amended Complaint. [ECF Nos. 38-39]. On

  March 16, 2021, this Court entered an Omnibus Order dismissing Counts I-III of the Amended

  Complaint with leave to file a second amended complaint by March 30. [ECF No. 68]. In the

  Omnibus Order, this Court did not raise the possibility of remand. On March 30, rather than filing

  a second amended complaint as directed, Plaintiffs instead filed a Notice of their intent to not file

  a second amended complaint—accompanied by a request that this Court remand the action to the

  17th Judicial Circuit Court. [ECF No. 69].

                                               ARGUMENT

           This Court should construe Plaintiffs’ Notice as a motion since it requests relief from the

  Court, and permit the United Defendants 14 days to respond. Courts in this district look beyond

  the title of a document to analyze its substance in determining whether notices should be properly

  considered motions. For instance, in MSPA Claims 1, LLC v. Nat’l Fire Ins. Co., No. 1:16-cv-

  20531 (S.D. Fla. June 16, 2016) at ECF No. 24, Magistrate Judge John J. O'Sullivan sua sponte

  struck a request for judicial notice filed by the plaintiff. Specifically, Judge O’Sullivan found that

  “[a]though the document is titled a ‘notice,’ it seeks relief from this Court and is therefore

  a motion . . . [but] fails to comply with [S.D. Fla. L. R. 7.1(a)(3) ] . . . .” Id. Also, because the

  request was a disguised motion, the plaintiff was required but failed to conduct a pre-filing

  conference on same.

           Similarly here, Plaintiffs’ Notice is, in effect, a disguised motion to remand to which Local

  Rule 7.1 applies. But despite the applicability of Local Rule 7.1, Plaintiffs failed to confer with



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  counsel for the United Defendants before seeking remand. S.D. Fla. L.R. 7.1(a)(3). Plaintiffs have

  also, in effect, treated their Notice as a Motion under Local Rule 7.1: For example, Plaintiffs filed

  a proposed order of remand in reliance on Local Rule 7.1(a)(2), and also attempted to incorporate

  a memorandum of law supporting remand pursuant to Local Rule 7.1(a)(1). Therefore, pursuant

  to the Local Rules, the United Defendants are entitled to 14 days to file a response to Plaintiffs’

  Notice.

                                             CONCLUSION

            WHEREFORE, the United Defendants respectfully request the Court to construe

  Plaintiffs’ Notice, [ECF No. 69], as a motion to remand and permit Defendants 14 days to confer

  with Plaintiffs regarding Plaintiffs’ Notice, and to formally respond to the relief requested therein.

  Dated: March 30, 2021.                                Respectfully submitted,

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